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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


JARROD STRINGER, et al.

                      Plaintiffs,
       v.

RUTH HUGHS, in her official capacity as Texas            Civil Action Case No. 5:20-cv-00046-
Secretary of State and STEVEN C. MCCRAW, in              OLG
his official capacity as Director of the Texas
Department of Public Safety
                                                         PLAINTIFF-INTERVENORS’
                                                         UNOPPOSED REQUEST FOR
                       Defendants.                       CONSOLIDATED BRIEFING



                Plaintiff-Intervenors Texas Democratic Party, DCCC, and DSCC (collectively,

“Intervenors”) filed their Motion for Summary Judgment on May 29, 2020. Defendants filed their

Response in Opposition to Intervenors’ Motion for Summary Judgment and Counter-Motion for

Summary Judgment on June 12, 2020, making Intervenors’ Reply in Support of their Motion for

Summary Judgement due June 19, 2020 and limited to 10 pages, and Intervenors’ Response in

Opposition to Defendants’ Counter-Motion for Summary Judgment due June 26, 2020 and limited

to 20 pages. See Local R. CV-7(f).

       Given that Intervenors’ Reply and Response briefs will necessarily involve the same issues,

for the sake of efficiency, Intervenors request that the Court permit them to file one consolidated

response/reply brief with a limit of 25 pages on or before June 26, 2020. Intervenors conferred

with Plaintiffs and Defendants, and they do not oppose this motion.



       Dated: June 16, 2020.                  Respectfully submitted,




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                                   CERTIFICATE OF SERVICE

      I hereby certify that on June 16, 2020, I filed a copy of Plaintiff-Intervenors’ Unopposed

Request for Consolidate Briefing using the CM/ECF system, which will send notification of such

filing to all counsel of record.


                                              /s/ John M. Geise
                                              Counsel for the Intervenor-Plaintiffs




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